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UNITED STATES DlSTRlCT COURT
DlSTRICT OF CONNECT|CUT

 

PATRICK LOMBARDO, iNDlVlDUALLY AND CASE NUMBER:

ON BEHALF OF ALL OTHERS S|M|LARLY

)
)
SiTUATED, )
Plaintiff } CLASS ACTiON
v. ) CON}PLAiNT
)
FlRSTSOURCE FiNANClAL SOLUT|ONS, lNC. and )
FiRSTSOURCE FiNANClAi_ SOLUT!ONS, LLC )
Defendants )
) JUNE 1, 2010

 

l. lNTRODUCTlON

1. Patrici< i_ornbardo brings this suit on behalf of himself and all those similarly
situated in Connecticut against Firstsource Financia| Soiutions, |hc. and Firstsource
Financiai So|utions, LLC, (co||ectively referred to as “Firstsource"), on account of the
attempted collection of illegal collection fees in connection with the collection of
consumer debt claimed to be owed by Connecticut residents as described more fully
beiow, in violation of the Fair Debt Coilection Practices Act (“FDCPA”), 15 U.S.C. §
1692 et seq., and the Connecticut Unfair Trade Practices Act (“CUTPA”), Cohn. Gen.
Stat. § 42-110a et seq.

2_ Plaintiff brings this ciass action in accordance with the FDCPA, i5 U.S,C. §
1692}< and CUTPA, Conn. Gen. Stat. § 42-1109. P|aintiff alleges that Firstsource has
attempted to collect fees associated with the coilection of the debt in excess of that
permitted by applicabie state |aw, in connection with dozens, if not hundreds, of

consumer obligations other than federal student ioahs.

 

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|l. PARTiES

3. The Piaintiff, Patrick i_ombardo, is a natural person residing in Bridgeport,
Connecticut.

4. The Defendant, Firstsource Financial So|utions, inc., was a Deiaware
corporation and a collection agency with its principal place of business in i_ouisvi|ie
Kentucky. Defendant used instrumentalities of interstate commerce in a business the
principai purpose of which was the collection of debts.

5. 'i'he Defendant, Firstsource i'-`inancia| Solutions, LLC, is a Deiaware
corporation and a coiiection agency with its principal piace of business in l_ouisvil|e
Kentucky. Defendant uses instrumentalities of interstate commerce in a business the
principal purpose of which is the collection of debts and is the successor of Firstsource
Financial So|utions, |no. (coilectiveiy called “Firstsource”) and has continued business

operations

ill. .iURlSDlCTION
6. Jurisdiction in this Court is proper pursuant to 15 U.S.C. § 1692i<(d), 28
U.S.C. § 1331 and 28 U.S.C. §1367.
7. Venue in this Court is proper, as the Plaintiff and the class members are
residents of Connecticut and the violative conduct that is the subject of this litigation

Was conducted within this State.

iV. PLAlNTlFF’S TRANSACTION

8. ln 2009, P|aintitf defaulted upon a private student ioan.

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9. After defau|t, the account was referred or assigned to Firstsource for

collection

10.0n March 25, 2010, Firstsource sent Plaintiff a notice informing him that the

amount due equaled $38,044.44, broken down as follows:

Principa|: $29,187.98
lnterest: $ 1,301.24
Col|ection Cost: $ 7,555.22

See Exhibit A, attached

'l'i.The collection cost ot $7,555.22 was greater than 15% of the amount which

Firstsource sought to collect
V. CLASS ALLEGATiON§

12. P|aintiff brings this action as a class action. The class is comprised of
individuals in Connecticut who are similarly situated to the Piaintitf in that Firstsource
sent them, within one year of the commencement of this action, a notice in connection
with a consumer obligation other than a federal student loan in which it included a
collection fee that was greater than 15% of the amount sought to be collected

13_ Piaintiff is unable to state the precise number of potential Class members,
because that information is exclusively in the possession of Firstsource and readily
available through discovery. Plaintiif believes, and on that basis he alleges, that the
potential Class number is at least forty and is more likely in excess of one hundred.

14.`l'he proposed Class is so numerous that joinder of all members would be

impracticable

 

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15.There is a community of interest among the members of the proposed Class
in that there are questions of law and fact common to the proposed Class that
predominate over questions affecting only individual members

16. Plaintiff’s claims are typical of those of the Class he seeks to represent

17. Plaintiff is represented by counsel competent and experienced in both
consumer protection and class action litigation

18.`i`he common questions of law and fact predominate over any individual
questions, in that the existence and extent of the collection or attempted collection of
fees in excess of that permitted by law may be readily ascertained by reviewing the
notices that Firstsource prepared and sent, and any individual questions are
subordinate to the common questions of whether Firstsource’s practices violate the
FDCPA and CUTPA and whether the class members are entitled to recover damages

19.A class action is superior to other methods for the fair and efhcient
adjudication of the controversyl Because the damages suffered by individual class
members are relatively small compared to the expense and burden of litigation, it would
be impractical and economically unfeasible for class members to seek redress
individuallyl The prosecution of separate actions by the individual class members, even
if possible or likely, would create a risk of inconsistent or varying adjudications with
respect`to the claims asserted by individual class members and could create
incompatible standards of conduct for Firstsource. lV|oreover, because most Class
members are unaware of the limitations on the amount of collection of fees, they are
unlikely to bring an independent action, and a class action is the only way that these

overcharges can be rectified.

 

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Vl. CLAiMS FOR RELlEF

F.lRST COUNT
Violation of 15 U,S.C. §§ 1692 et seq.

ZG.Paragraphs 1 through 19 are herein incorporated

21 . Firstsource’s attempt to collect fees in excess of the percentage permitted by

Conn. Gen. Stat. § 36a-805(13) is in violation of the Fair Debt Coliection Practices Act.

Speciflcally, and without |imitation, Firstsource:

3.

_c)

Committed false, deceptive and misleading representationsl in violation of
15 U,S.C. §1692e;

Fa|sely represented the amount of the debt, in violation of 15 U.S.C. §
1692e(2)(a);

Faisely represented the collection fee which may be lawfully collected in
violation of 15 U.S.C, § 1692e(2)(B);

Used unfair or unconscionable means to attempt to collect a debt, in
violation of 15 U.S.C. § 1692f; and,

Attempted to collect fees associated With the collection of the debt in an
amount in excess of that permitted by law, in violation of 15 U.S.C. §

1692f(‘l).

 

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SECOND COUNT
Vioiation of Conn. Gen. Stat. § 42-110a et seq.

22.Paragraphs 1~2l are incorporated

23_ Firstsource’s improper assertion of excessive collection fees was unfair and
deceptivel and it constituted a violation of the Connecticut Unfair Trade Practices Act,
Conn. Gen. Stat. § 42-110a set seq.

24. Plaintiff and the class members have suffered an ascertainable loss due to

the imposition of the illegal and excessive collection fee imposed by Firstsource

 

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WHEREFORE, the Plaintiff seeks recovery of monetary damages; costs and
attorney’s fees pursuant to 15 U.S.C. § 1692k, actual damages, punitive damages,
attorney’s fees, costs, and injunctive relief in the form of an order prohibiting Firstsource
from asserting collection fees in excess of 15% for consumer obligations other than
federal student loans, and such other relief as this Court deems appropriate

PLA|NT!FF, PATRlCK LOMBARDO
lndividual|y, And On Behalf Of The Class,

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B‘”W
' _ slinn, esti»sar/No. morales

dblinn@consumerlawgroup.com
Consumer i_aw Group, Li_C

35 Cold Spring Rd., Suite 512

Rocky Hill, CT 06067

Tel. (860) 571-0408 Fax. (860) 571-7457

 

Joshua R.l. Cchen, Fed Bar NO. ct 27939
jcohen@debtorslawt”irrn.com

Law Office of Joshua R.l. Cohen, Ll_C
2074 Pari< street 2“d Fioor

l-lartford, C'l' 06106

Tel. (860) 233-0338 Fax. (860) 233-0339

